             Case 4:20-cv-02058-ACA                  Document 354-3                     Filed 03/03/25   Page 1 of 1               FILED
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                                                                                                                         U.S. DISTRICT COURT
                                                                                                                             N.D. OF ALABAMA
     Date:           Friday, Januaiy 13 2017 06:04 AM
     Subject:        Vulnerability Analysis    -   Major Facililies
     From:           Culliver, Grantt (DOC)
     To:             Simpson. Kristi (DOt) CKristi.Simpson@doc.aIahama.gov >:
                     021] 15 January2015- Emergency Operations-Vulnerability Analysis Tool.doc;
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                     imagef101 png: 041814 Bullock Vulnerability Analysis (3).doc: 030215 Donaldson CF WED
                     Vulnerability Analysis 2015(2) (2)4oc; 022715 Vulnerability Assessment.pdf: 030315
                     Easterling CF -Vulnerable Analvsis(2015) (2).doe; 022515 Vulnerability AssessmenLpdf:
                     022415 AL Dept of Corrections January 2015- Emergency Operations-Vulnerability Analysis
     Attac1nient
                     Thai (2).doc: 022615 Vulnerability Analysis 2015 (2).doc: 030215 Holman CF Vulnerability -




                     Analysis-3,doc: @22715 Vulnerability Analysis Tool,pdf: 021115 Limestone CF Vunerahility
                     Analysispdf: 030315 SL ClairCF -Vulnerability Analysis.doc: 2015 Emergency Operations-
                     Vulnerability Analysis Tool-201 5.doc: 030315 Vulnerability Anaylis Report Ventress 2015
                     doc.pdf
    Ms. Simpson attached are the latest vulnerability Analysis completed from ADOC major male facilities. Idid not have the 2015
    analysis from Bullock CF

                               Gra.nct D. Culliver
                               Associate Commissioner or Operations
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                               Professionalism     --    the standing, practice, or methods of a
                               professional, as distinquished from on amateur.




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HIGHLY CONFIDENTIAL        -   ATTORNEYS EYES ONLY                                                        ADOC(DOJ)-TP-000058 I

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